8:06-cr-00315-LSC-SMB          Doc # 173    Filed: 08/04/11     Page 1 of 1 - Page ID # 607


                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEBRASKA
                                                                             IJ.

    UNITED STATES OF AMERICA          )

                         Plaintiff,
                                      )
                                      )
                                                                            rI f~IIG -11, PH 12: as
                                      )
                  VS.                 )
                                      )
 Cindy Chavez                         )
                                      )
                         Defendant,   )
-------------------------)
                                                         CASE NO. 06-CR31S-002

                                                         ORDER REFERRING OFFENDER
                                                         FOR CONSIDERATION OF
                                                         PLACEMENT IN THE TATTOO
                                                         REMOVAL PROGRAM




       The United States District Court for the Central District ofCalifomia has partnered
with the University of California at Irvine (UCI) - Beckman Laser Institute in the Court's
Tattoo Removal Program, which provides laser tattoo removal treatment for offenders who
voluntarily choose to be considered and are found suitable to participate in the program. The
program is for the offender's benefit and not a condition of her supervision term.
      The Coordinating Judge for the Tattoo Removal Program is United States District
Judge David O. Carter.
       Offender Cindy Chavez may be a suitable candidate for tattoo removal treatment, and
is hereby referred to United States District Judge David O. Carter for consideration of
placement into the Tattoo Removal Program.



Dated
                                               L~D1STRlCT                          JUDGE
